           Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.1 Page 1 of 9




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  5
                              UNITED STATES DISTRICT COURT

  6                         SOUTHERN DISTRICT OF CALIFORNIA
  7
       UNITED STATES OF AMERICA,                       Case No. 23MJ8293-LR
  8
                                                       COMPLAINT FOR VIOLATION OF
  9                                Plaintiff,
 10                                                   Title 8, U.S.C., Section
             V.                                       1324(a)(l )(A)(ii) Transportation of
 11                                                   Illegal Aliens (Felony)
 12    Rogelio REYES-Arrieta

 13                               Defendant.
 14
 15
            The undersigned complainant being duly sworn states:
 16
            On or about May 1, 2023, within the Southern District of California, defendant
 17
 18 Rogelio REYES-Arrieta, with the intent to violate the immigration laws of the United
 19
      States,·knowing and in reckless disregard of the fact that aliens,
 20
                                Sandra Isabel PEREZ-Tafolla,
 21
 22                             Julio Jesus GUTIERREZ-Rodriguez, and
 23
                                Maria Del Rosario MUNOZ-Tamayo,
 24
      had come to, entered, or remained in the United States in violation of law, did transport or
 25
 26 move, or attempt to transport or move, said aliens within the United States in furtherance
 27
      of such violation of law; in violation of Title 8, United States Code, Section 1324.
 28
          Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.2 Page 2 of 9



 1
 2         And the complainant states this complaint is based on the attached Statement of Facts,
 3
     which is incorporated herein by reference.
 4
 5

 6
                                                  CRISTIN
                                                        ~       S
 7                                                BORDER PATROL AGENT
 8
           Sworn and attested to under oath by telephone, in accordance with Federal Rule of
 9
10 Criminal Procedure 4.1, this 2nd day of May 2023.
11
12
13                                                HON. LUPE RODRIGUEZ, JR.
                                                  U.S. MAGISTRATE JUDGE
14
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         Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.3 Page 3 of 9



 l   UNITED STATES OF AMERICA
                 V.
 2 Rogelio REYES-Arrieta
 3
                                   STATEMENT OF FACTS
 4
 5         This Complaint and Statement of Facts are based upon statements in the

 6 investigative report by Border Patrol Agent (BPA) L. Heipt that on May 1, 2023, Rogelio
 7
     REYES-Arrieta, a Mexican citizen, was arrested in Calexico, California while smuggling
 8
 9 three non-citizens in violation of Title 8, United States Code, Section 1324.

10         On May 1, 2023, Border Patrol Agents - Intelligence assigned to the El Centro Sector
11
     Field Intelligence Team (FIT) were conducting surveillance in Calexico, California. On
12
13 this date, at approximately 5 :00 p.m., the Mobile Surveillance Capabilities operator (MSC)

14 along with the Calexico Border Patrol Remote Video Surveillance System (RVSS) operator
15
   observed individuals on top of the Mexico/United States International Boundary Fence
16
17 (IBF), south of the area known to Calexico Border Patrol Agents as Midway. This area is

18 in the Imperial Sand Dunes south of Interstate 8, west of the Greys Well Exit.
19
          Upon receiving this information, FIT Agents set up a perimeter in the area and began
20
21 conducting static surveillance. While FIT Agents conducted surveillance, the MSC and

22 RVSS operators watched as the suspected illegal aliens scaled down the IBF and began
23
   walking north through the desert towards Interstate 8.
24
25         While FIT Agents were positioned along Interstate 8, BPA A. Tapia and BP A L.
26 Heipt were conducting mobile surveillance on a Silver Volvo (Volvo). This Volvo was
27
   previously identified (based on the license plate) by El Centro Sector Intelligence Unit
28
                                                 3
          Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.4 Page 4 of 9



     Agents on April 28, 2023, as a vehicle that was possibly being utilized to pick up illegal
 1
 2 aliens and transport them further north into the United States.
 3
           Record checks also showed that the Volvo had a deferred registration to a car
 4
 5 dealership in El Monte, CA. El Monte is approximately one hundred seventy-seven miles
 6 away from El Centro in Los Angeles County. FIT Agents know from experience that alien
 7
     smugglers are often recruited in heavily populated areas away from the border, such as El
 8

 9 Monte. Furthermore, FIT Agents conducted surveillance on this Volvo on yesterday's date
10 as it met with another vehicle that is under investigation by FIT Agents and travelled
11
     aimlessly to random locations throughout El Centro and Calexico and parked for hours.
12
13 FIT Agents recognized this behavior as staging, which alien smugglers often do while
14 waiting for a phone call to pick up illegal aliens.
15
           BP A A. Tapia and BPAL. Heipt continued following the Volvo on Interstate 8 from
16
17 the Highway 98 Exit to the Ogilby Road Exit. At the Ogilby Road Exit, BP A L. Heipt
18 exited Interstate 8, travelled over the overpass, and merged back onto the westbound lanes
19
     of Interstate 8 while the Volvo utilized the median to perform a U-tum and begin travelling
20
21 back westbound on Interstate 8. As the Volvo continued travelling back westbound, BPA

22 L. Heipt positioned his unmarked service vehicle behind the Volvo and continued mobile
23
     surveillance.
24
25         While FIT Agents continued to monitor the Volvo, the MSC and RVSS operators
26 continue to watch the suspected illegal aliens as they walked through the desert terrain
27
   towards Interstate 8. As the suspected illegal aliens approached Interstate 8, BPA L. Heipt
28
                                                  4
          Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.5 Page 5 of 9



     watched as the Volvo slowed down, pulled over and came to a complete stop. As the Volvo
 1
 2 remained parked on the shoulder of the westbound lanes of Interstate 8, BPA L. Heipt
 3
     observed the three suspected illegal aliens, dressed in all tan clothing running towards the
 4
     Volvo. BPA A. Garcia, the MSC and RVSS operators continued to watch as all three
 5
 6   suspected illegal aliens ran across Interstate 8 and entered the rear passenger's seat of the
 7
     Volvo. After the three suspected illegal aliens entered the Volvo, the Volvo merged back
 8

 9 onto the westbound lanes of Interstate and continued travelling westbound towards
10 Calexico, California.
11
           As the Volvo continued travelling westbound, a Customs and Border Protection
12
13 Helicopter (Troy) assisted FIT Agents with mobile aerial surveillance. FIT Agents as well
14 as Troy kept constant visual on the Volvo as it travelled westbound towards San Diego,
15
     California. As the Volvo passed the Westside Main Canal, BPA A. Botello positioned his
16
17 unmarked service vehicle behind the Volvo and activated the emergency lights and sirens

18 to conduct a vehicle stop on the Volvo and perform an immigration inspection on all
19
     occupants within the Volvo.
20
21         As BPA A. Botello continued to pursue the Volvo with the emergency lights and

22   sirens activated, the Volvo switched from the fast lane to the passing lane. As the Volvo
23
     continued to travel at approximately 50 miles per hour, it became evident that the Volvo
24
25 was failing to yield as it continued travelling towards San Diego, California without

26 slowing down.
27
28
                                                  5
          Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.6 Page 6 of 9



           The Volvo continued to evade BPA A. Botello and BPA L. Heipt, who both had
 1
 2 their emergency lights and sirens activated. As the Volvo continued to fail to yield to the
 3
     lights and sirens, BPA A. Tapia and BPA M. Clinton positioned themselves on the side of
 4
     Interstate 8 approximately one hundred yards east of the Dunaway Road Exit and notified
 5
 6 BPA A. Botello that they would be there with Vehicle Immobilization Device's (VID's).
 7
     As the Volvo approached the area, BPA A. Tapia and BPA M. Clinton deployed the VID's
 8
 9 and the two front tires were successfully immobilized.
10         After successfully immobilizing the tires of the Volvo, the Volvo pulled over to the
11
     side of the road and came to a complete stop. After coming to a complete stop, BPA A.
12
13 Botello and BPA L. Heipt, who had Border Patrol markings and insignia fully visible,
14 approached the Volvo and identified themselves as a Border Patrol Agents. BPA A. Botello
15
     questioned the driver, later identified as Rogelio REYES-Arrieta (REYES) as to his
16
17 citizenship. REYES admitted to being in the United States illegally. REYES admitted that
18 he made the illegal entry by climbing the border fence in an area other than through a
19
     designated Port of Entry. BPA L. Heipt then questioned the three back seat passengers as
20
21 to their citizenship. All three subjects, later identified as

22                              Sandra Isabel PEREZ-Tafolla,
23
                                Julio Jesus GUTIERREZ-Rodriguez, and
24
25                             Maria Del Rosario MUNOZ-Tamayo,

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27
28
                                                   6
          Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.7 Page 7 of 9



     admitted to being in the United States illegally. All three subjects admitted that they made
 1
 2 the illegal entry by climbing the border fence in an area other than through a designated
 3
     Port of Entry.
 4
           REYES was placed under arrest for 8 USC 1324 Alien Smuggling as well as Illegal
 5

 6 Entry. The three additional illegal aliens were placed under arrest for Illegal Entry. All four
 7
     illegal aliens were transported to the Calexico Border Patrol Station where their
 8
 9 biographical data was taken and recorded.
10         On May 1, 2023, at approximately 8 :45 p.m., GUTIERREZ provided BP A A. Garcia
11
     with a statement in the Spanish language. GUTIERREZ stated he is a citizen of Mexico.
12
13 GUTIERREZ stated that he does not have any legal documents allowing him to live, work
14 or remain in the United States legally.        GUTIERREZ stated that he was to pay an
15
     undisclosed amount to be illegally smuggled into the United States. GUTIERREZ stated
16
17 that he illegally entered the United States today by climbing the wall near Mexicali. After

18 crossing he was picked up by a vehicle that honked the horn. GUTIERREZ stated that the
19
     driver said to him "[L]et's go to Los Angeles". GUTIERREZ stated that he was arrested
20
21 by the Border Patrol shortly after. GUTIERREZ stated he was going to Los Angeles.

22 GUTIERREZ was presented with six pack photo line -up labeled A and identified picture
23
     #5 as the driver of the car he was arrested in. The interview ended at approximately 8:56
24
25 p.m.

26         On May 1, 2023, at approximately 8:29 p.m., MUNOZ provided BPA A. Garcia
27
     with a statement in the Spanish language. MUNOZ stated she is a citizen of Mexico.
28
                                                  7
          Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.8 Page 8 of 9



     MUNOZ stated that she does not have any legal documents allowing her to live, work, or
 1
 2 remain in the United States legally. MUNOZ stated that she was to pay 10,000 USD to be
 3
     illegally smuggled into the United States. MUNOZ stated that she illegally entered the
 4
     United States today by climbing the wall near Mexicali. After crossing she was picked up
 5
 6 by a grey vehicle that was honking the horn. MUNOZ stated that the driver said to her
 7
     "[R]apido" in the Spanish language. MUNOZ stated that the driver instructed them to put
 8
 9 their head down. MUNOZ stated that she was arrested by the Border Patrol shortly after.
10 MUNOZ stated she was going to Los Angeles. MUNOZ was presented with six pack photo
11
   line -up labeled A and identified picture #5 as the driver of the car. The interview ended at
12
13 approximately 8:39 p.m.

14         On May 1, 2023, at approximately 8:14 p.m., PEREZ provided BPA A. Garcia with
15
     a statement in the Spanish language. PEREZ stated she is a citizen of Mexico. PEREZ
16
17 stated that she does not have any legal documents allowing her to live, work or remain in

18 the United States legally. PEREZ stated that she was to pay 9,000 USD to be illegally
19
   smuggled into the United States. PEREZ stated that she illegally entered the United States
20
21 today by climbing the wall near Mexicali. After crossing she was picked up by a grey

22 vehicle that she was arrested in by the Border Patrol. PEREZ stated that this was the first
23
     time that she saw the drivers face because she was sitting directly behind him in the vehicle
24
25 when the vehicle was travelling. PEREZ stated she was going to Los Angeles. PEREZ was

26 presented with six pack photo line -up labeled A and identified picture #5 as the driver of
27
   the car she was arrested in. The interview ended at approximately 8 :25 p.m.
28
                                                   8
          Case 2:23-mj-08293-LR Document 1 Filed 05/02/23 PageID.9 Page 9 of 9



     The complainant states the name of the Material Witness is as follows:
 1
 2      NAME                                                     PLACE OF BIRTH
 3
        Sandra Isabel PEREZ-Tafolla                              Mexico
 4
 5      Julio Jesus GUTIERREZ-Rodriguez                          Mexico

 6      Maria Del Rosario MUNOZ-Tamayo                           Mexico
 7
 8
     Further, complainant states that the Material Witnesses are citizens of a country _other than
 9
10 the United States; that said aliens have admitted that they are deportable; that their

11
     testimony is material; that it is impracticable to secure their attendance at trial by subpoena;
12
     and that they are material witnesses in relation to this criminal charge and should be held
13
14 or admitted to bail pursuant to Title 18, United States Code, Section 3144.
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